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                                                          Haddon, Morgan and Foreman, P.C
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 July 10, 2019


 The Honorable Loretta A. Preska
 United States District Court
 Southern District of New York
 500 Pearl Street
 New York, NY 10007

 Re: Request to Adjourn July 9 Order re Conference
     Giuffre v. Ghislaine Maxwell, No. 15 Civ. 7433 (LAP)

 Dear Judge Preska:

 The parties are in receipt of the Court’s July 9, 2019 Order directing them to
 confer and appear for a conference tomorrow to discuss how to proceed. We
 have begun conferrals with the other parties.

 This firm represents the defendant Ghislaine Maxwell. As the appellee in the
 consolidated appeals of Judge Sweet’s orders denying unseal motions,
 Ms. Maxwell has resisted the appellants’ and plaintiff Virginia Giuffre’s efforts
 to unseal and release to the public materials and information we believe
 properly were sealed.

 Since the mandate has not issued and jurisdiction has not been returned to the
 district court, see, e.g., United States v. Rodgers, 101 F.3d 247, 251 (2d Cir. 1996)
 (“A district court does not regain jurisdiction until the issuance of the mandate
 by the clerk of the court of appeals.”), we are inclined to agree with
 Ms. Giuffre’s counsel’s suggestion that the Court is convening only a status
 conference for advisory reasons only. See United States v. Polizzi, 257 F.R.D. 33,
 34, 38-39 (E.D.N.Y. 2009).

 Even so, we respectfully suggest the status conference would be premature.
 We are evaluating the Second Circuit’s opinion for purposes of petitioning the
 Court for rehearing before the panel and/or en banc. We have substantial
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 concerns about the procedures discussed in the opinion, particularly as those
 procedures apply to this action. Modification or vacatur of the opinion by the
 panel or en banc Court could affect significantly the parties’ views on the proper
 procedure on remand.

 Setting aside issues of jurisdiction and prematurity, Ms. Maxwell’s counsel
 Jeffrey Pagliuca and I are unavailable to participate in-person in the conference
 (Laura Menninger is out of the country), although we could participate via
 telephone. Accordingly, we respectfully request that the conference be
 rescheduled for a later date.1

 Respective counsel for intervenors Miami Herald, Julie Brown and Alan
 Dershowitz do not oppose our request to continue the conference. Sanford
 Bohrer for the Herald intervenors is available August 6-8, 14-16; David
 Lebowitz for Mr. Dershowitz is available August 6-8 and 16. We are available
 on all these dates. We have not received available dates from the other counsel.
 Counsel for Ms. Giuffre opposes our request to continue the conference. We
 had not received any communication from counsel for intervenor Cernovich as
 of the time we said we would need to submit this letter to the Court.

 Very truly yours,



 Ty Gee

  C: Counsel of Record (via ECF); Kerrie Campbell (via Email)



        1
         Attorney Kerrie Campbell represents one of the third parties whose
 identifying information appears in some of the sealed materials and who moved
 to intervene in the consolidated appeals. Mr. Bohrer notified Ms. Campbell of
 our conferral efforts and suggested that she participate in the conferral and the
 conference. For the reasons we provided to the Second Circuit, we believe her
 participation and the participation of other third parties whose privacy interests
 are implicated are appropriate. Ms. Campbell expressed interest in
 participating in the post-remand proceedings, and does not oppose
 adjournment of the conference.
